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                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                  November 25, 2020


Clerk
United States Court of Appeals for the Ninth
Circuit
95 Seventh Street
San Francisco, CA 94103-1526


      Re: Facebook, Inc.
          v. Perrin Aikens Davis, et al.
          No. 20-727
          (Your No. 17-17486)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
November 20, 2020 and placed on the docket November 25, 2020 as No. 20-727.




                                        Sincerely,

                                        Scott S. Harris, Clerk

                                        by

                                        Jacob A. Levitan
                                        Case Analyst
